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                      E x hi bit D
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                             N O TI C E O F F U N DI N G W AI V E R A P P LI C A TI O N
                   T O E M P L O Y E E O R G A NI Z A TI O N S ( U NI O N S), P A R TI CI P A N T S,
                            . B E N E FI CI A RI E S, A N D A L T E R N A T E P A Y E E S

T hi s n oti c e i s t o i nf or m y o u t h at a n a p pli c ati o n f or a w ai v er of t h e mi ni m u m f u n di n g
st a n d ar d u n d er § 4 1 2( d) of t h e I nt er n al R e v e n u e C o d e ( C o d e) a n d s e cti o n 3 0 3 of t h e
E m pl o y e e R etir e m e nt I n c o m e S e c urit y A ct of 1 9 7 4 ( E RI S A) h a s b e e n s u b mitt e d b y E b er
Br o s. Wi n e & Li q u or C or p. t o t h e I nt er n al R e v e n u e S er vi c e ( S er vi c e) f or t h e f oll o wi n g pl a n
f or t h e pl a n y e ar b e gi n ni n g J a n u ar y 1, 2 0 0 8:

                                E b er Br o s. Wi n e & Li q u or C or p. R etir e m e nt Pl a n


U n d er § 4 1 2(f)( 4)( B) of t h e C o d e a n d s e cti o n 3 0 3{ e)( 2) of E RI S A, t h e S er vi c e will c o n si d er
a n y r el e v a nt i nf or m ati o n s u b mitt e d c o n c er ni n g t hi s a p pli c ati o n f or a w ai v er of t h e mi ni m u m
f u n di n g st a n d ar d. Y o u m a y s e n d t hi s i nf or m ati o n t o t h e f oll o wi n g a d dr e s s:

                                                   Dir e ct or E m pl o y e e Pl a n s
                                                   I nt er n al R e v e n u e S er vi c e
                                                      Att n: S E: T: E P: R A: T: A
                                             1 1 1 1 C o n stit uti o n A v e n u e, N. W.
                                                   W a s hi n gt o n, D. C. 2 0 2 2 4

A n y s u c h i nf or m ati o n s h o ul d b e s u b mitt e d a s s o o n a s p o s si bl e aft er y o u h a v e r e c ei v e d t hi s
n oti c e. D u e t o t h e di s cl o s ur e r e stri cti o n s of § 6 1 0 3 of t h e C o d e, t h e S er vi c e c a n n ot pr o vi d e
a n y i nf or m ati o n wit h r e s p e ct t o t h e w ai v er r e q u e st it s elf.

I n a c c or d a n c e wit h s e cti o n 1 0 4 of E RI S A a n d s e cti o n 2 5 2 0. 1 0 4 b- 1 0 of t h e D e p art m e nt of
L a b or R e g ul ati o n s ( 2 9 C. F. R. P art 2 5 2 0}, a n n u al fi n a n ci al r e p ort s f or t hi s pl a n, w hi c h
i n cl u d e e m pl o y er c o ntri b uti o n s m a d e t o t h e pl a n a n d t h e a c c u m ul at e d f u n di n g d efi ci e n c y
f or t h e pl a n f or a n y pl a n y e ar, ar e a v ail a bl e f or i n s p e cti o n at t h e D e p art m e nt of L a b or i n
W a s hi n gt o n, D. C. C o pi e s of s u c h r e p ort s m a y b e o bt ai n e d u p o n r e q u e st a n d u p o n
p a y m e nt of c o p yi n g c o st s fr o m t h e f oll o wi n g a d dr e s s:

                                                   P u bli c Di s cl o s ur e R o o m
                                                          R o o m N- 5 5 5 0 7
                                    E m pl o y e e B e n efit s S e c urit y A d mi ni str ati o n
                                                 U. S. D e p art m e nt of L a b or
                                            2 0 0 C o n stit uti o n A v e n u e, N. W.
                                                  W a s hi n gt o n, D. C. 2 0 2 1 0




                                                                                                                            BBBB
                                                                                                                            B B B B
                                                                                                                                         E B- 0 0 0 3 5 6 6 8
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                                N O TI C E O F F U N DI N G W AI V E R A P P LI C A TI O N
                      T O E M P L O Y E E O R G A NI Z A TI O N S ( U NI O N S), P A R TI CI P A N T S,
                                 B E N E FI CI A RI E S, A N D A L T E R N A T E P A Y E E S

                                                               Page2

A s r e q uir e d b y s e cti o n 1 0 4( b )( 2) of E RI S A, c o pi e s of t h e l at e st a n n u al pl a n r e p ort ar e
a v ail a bl e f or i n s p e cti o n at t h e pri n ci p al offi c e of t h e pl a n a d mi ni str at or, w h o i s l o c at e d at
1 5 5 P ar a g o n Dri v e,. R o c h e st er, N Y 1 4 6 2 4. C o pi e s of t h e a n n u al r e p ort m a y b e o bt ai n e d
u p o n r e q u e st a n d u p o n p a y m e nt of a c o p yi n g c h ar g e of $ 2. 0 0 b y writi n g t o t h e pl a n
a d mi ni str at or at t h e a b o v e a d dr e s s.

T h e f oll o wi n g i nf or m ati o n i s pr o vi d e d a s of M a y 3 1, 2 0 0 9 p ur s u a nt t o § 4 1 2(f)( 4)( A) of t h e
C o d e a n d s e cti o n 3 0 3( e )( 1) of E RI S A:

     ( 1)       Pr e s e nt V al u e of V e st e d
                B e n efit s f or Pl a n F u n di n g
                P ur p o s e s                                             $ 8, 0 9 3, 4 0 5

         { 2)   Pr e s e nt V al u e of B e n efit s
                C al c ul at e d a s t h o u g h t h e
                pl a n t er mi n at e d                                    $ 9, 6 6 5, 4 2 2

     ( 3)       F air M ar k et V al u e of
                Pl a n A s s et s                                          $ 4, 1 0 9, 6 6 7


T h e a b o v e pr e s e nt v al u e s w er e c al c ul at e d u si n g i nt er e st r at e s of 5. 6 7 %, 6. 6 3 %, a n d
6. 7 1 % f or it e m ( 1) a n d 4. 2 5 %, 5. 3 4 %, a n d 5. 2 5 % f or it e m ( 2).




Na me


    c.f- 0
Titl e




                                                                                                                                       E B- 0 0 0 3 5 6 6 9
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          D el eti o n s St at e m e nt r e q ui r e d b y S e cti o n 6 1 1 0 of t h e I nt e r n al R e v e n u e C o d e

                         R e q u e st f o r W ai v e r of Mi ni m u m F u n di n g R e q ui r e m e nt s




T a x p a y er N a m e a n d A d dr e s s:         E b er Br o s. Wi n e & Li q u or C or p.
                                                   1 5 5 P ar a g o n Dri v e
                                                   R o c h e st er, N Y 1 4 6 2 4


T a x p a y er F e d er al EI N:                   1 6- 0 4 1 7 4 5 0

E b er Br o s. Wi n e & Li q u or C or p. r e q u e st s t h at n a m e s, a d dr e s s e s, a n d i d e ntif yi n g n u m b er s
b e d el et e d fr o m t h e w ai v er r e q u e st b ef or e it i s m a d e a v ail a bl e f or p u bli c i n s p e cti o n.




N a e


         ( A)
Titl e




                                                                                                                                    E B- 0 0 0 3 5 6 7 0
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                                           E b e r B r o s. Wi n e     & Li q u o r C o r p.

                             W ai v e r of Mi ni m u m F u n di n g D e cl a r ati o n f o r 2 0 0 8




U n d er t h e p e n alti e s of p erj ur y, I d e cl ar e t h at I h a v e e x a mi n e d t hi s r e q u e st, i n cl u di n g
a c c o m p a n yi n g d o c u m e nt s, a n d t o t h e b e st of m y k n o wl e d g e a n d b eli ef, t h e f a ct s
pr e s e nt e d i n s u p p ort of t h e r e q u e st ar e tr u e, c orr e ct, a n d c o m pl et e.




D at ej




                                                                                                                                  E B- 0 0 0 3 5 6 7 1
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F or m      2848
( R e v. J u n e 2 0 0 8)
                                                                                P o w er of Att or n e y
                                                                    a n d D e cl ar ati o n of R e pr e s e nt ati v e
                                                                                                                                                                                                              0 M B N o. 1 5 4 5- 0 1 5 0
                                                                                                                                                                                                              F or I R S U s e O nl y
                                                                                                                                                                                                        R e c ei v e d b y;
D e p art m e nt of t h e Tr e a s ur y
                                                                             T y p e o r pri nt.           S e e t h e s e p a r at e I n str u cti o n s.
I nt er n al R e v e n u e S er vi c e                                                                                                                                                                  Na me
                     P o w e r of Att or n e y                                                                                                                                                         T el e p h o n e
                     C a uti o n: F or m 2 8 4 8 w/ 1 1 n ot b e h o n or e d f or a n v o ur o os e ot h er t h a n r e or e s e nt atl o n b ef or e t h e I R S.                                 F u n cti o n
     1    T a x p a y e r i nf or m ati o n. T a x p a y er{ s) m u st si g n a n d d at e t hi s f or m o n p a g e 2, li n e 9.                                                                   D at e           I         I
T a x p a y er n a m e( s) a n d a d dr e s s                                                                            S o ci al s e c urit y n u m b er( s)                             E m pl o y er I d e ntifi c ati o n
 E b er Br o s. Wi n e & Li q u or C or p.                                                                                                                                                 n u m b er


 1 5 5 P ar a g o n Dri v e                                                                                                                                                               1 6- 0 4 1 7 4 5 0
 R o c h e st er                                                                    NY         14624                               D a yti m e t el e p h o n e n u m b er                 Pl a n n u m b er Of a p pli c a bl e)
                                                                                                                                   ( 5 8 5) 3 4 9- 7 7 1 5                                                       001
h er e b y a p p ol nt{ s) t h e f oll o wi n g r e pr e s e nt atl v e( s) a s att or n e y( s)-l n-i a ct:

     2     R e pr e s e nt atl v e( s) m u st sl q n a n d d at e t hi s f or m o n p a a e 2, P art II.
N a m e a n d a d dr e s s  Mi c h a el A. G all a g h er                                                                         C A F N o .•      ? ~ Q ~-- ~ 9 7.t 1. ~---··················
 B e n efit s M a n a g e m e nt, I n c.                                                                                          T el e p h o n e N o •.   ( ~ ~- ~). 1?. ~: 1 ~ ~ ~---··········
 3 5 5 P a c k ett' s L a n di n g                                                                                                F ax N o ••       ( ~ ~- ~} 1 ~ ~: 1. ~ 1 1 .................. .
 F air p ort                                        NY    14450                                                  C h e c k If n e w: A d dr e s s ! XI               T el e p h o n e N o.       0                F a x N o.        0
N a m e a n d a d dr e s s                                                                                                         C A F N o .•••••••••••••••••••••••••••••••••••••
                                                                                                                                   T el e p h o n e N o.      • • • • • • • • • • • • • • • • • • • • • • • • • • • • • •.
                                                                                                                                 F a x N o. • • • • • • • • • •. • • • • • • • • • • • • •. • • •. • • • • •. •.
                                                                                                                C h e c k if n e w: A d dr e s s O             T el e p h o n e N o. 0                   F a x N o.                 0
N a m e a n d a d dr e s s                                                                                                         C A F N o . • •. • • • • • • • • • • • • • • • • • • • • • • •. • • •. • • •. •.
                                                                                                                                   T el e p h o n e N o ............................... .

                                                                                                                C h e c k If n e! ~ ~ ~ J ~ s ~ ·     0 ·····T ei ~; h ~ ~ ~ - N ~: 0 ·····i = ~ ~· N o. 0
t o r e pr e s e nt t h e t a x p a y er( s) b ef or e t h e I nt er n al R e v e n u e S er vi c e f or t h e f oll o wi n g t a x m att er s;

  3        T a x m att e r s
             T y p e of T a x (I n c o m e, E m pl o y m e nt, E x ci s e, et c.)                                       'r a x F or m N u m b er                                           Y e ar( s) or P eri o d( s)
            . or Ci vil P e n alt y ( s e e t h e I n str u cti o n s f or li n e 3)                                  ( 1 0 4 0, 9 4 1, 7 2 0, et c.)                             ( s e e t h e I n str u cti o n s f or li n e 3)
A p pli c ati o n f or F u n di n g W ai v er                                                       5500                                                                    2 0 0 7- 2 0 0 9




  4        S p e cifi c u s e n ot r e c or d e d o n C e ntr ali z e d A ut h ori z ati o n Fil e ( C A F), If t h e p o w er of att or n e y i s f or a s p e cifi c u s e n ot r e c or d e d o n C A F,
           c h e c k t hi s b o x, S e e t h e I n str u cti o n s f or Li n e 4. S p e cifi c U s e s N ot R e c or d e d o n C A F     • • • , • • • • • • , • •                                                                            0
 5        A ct s a ut h ori z e d. T h e r e pr e s e nt ati v e s ar e a ut h ori z e d t o r e c ei v e a n d i n s p e ct c o nfi d e nti al t a x I nf or m ati o n a n d t o p erf or m a n y a n d all a ct s t h at
          I ( w e) c a n p erf or m wit h r e s p e ct t o t h e t a x m att er s d e s cri b e d o n li n e 3, f or e x a m pl e, t h e a ut h orit y t o si g n a n y a gr e e m e nt s, c o n s e nt s, or ot h er
          d o c u m e nt s. T h e a ut h orit y d o e s n ot I n cl u d e t h e p o w er t o r e c ei v e r ef u n d c h e c k s ( s e e li n e 6 b el o w), t h e p o w er t o s u b stit ut e a n ot h er r e pr e s e nt ati v e
          or a d d a d diti o n al r e pr e s e nt ati v e s, t h e p o w er l o si g n c ert ai n r et ur n s, or t h e p o w er t o e x e c ut e a r e q u e st f or di s cl o s ur e of t a x r et ur n s or r et ur n
          I nf or m ati o n t o a t hir d p art y. S e e t h e li n e 5 I n str u cti o n s f or m or e i nf or m ati o n.
          E x c e pti o n s. A n u n e nr oll e d r et ur n pr e p ar er c a n n ot si g n a n y d o c u m e nt f or a t a x p a y er a n d m a y o nl y r e pr e s e nt t a x p a y er s I n li mit e d sit u ati o n s.
          S e e U n e nr oll e d R et ur n P r e p a r e r o n p a g e 1 of t h e I n str u cti o n s. A n e nr oll e d a ct u ar y m a y o nl y r e pr e s e nt t a x p a y er s t o t h e e xt e nt pr o vi d e d i n
          s e cti o n 1 0. 3( d) of Tr e a s ur y D e p art m e nt Cir c ul ar N o. 2 3 0 ( Cir c ul ar 2 3 0). A n e nr oll e d r etir e m e nt pl a n a d mi ni str at or m a y o nl y r e pr e s e nt t a x p a y er s
          t o t h e e xt e nt pr o vi d e d i n s e cti o n 1 0. 3( e) of Cir c ul ar 2 3 0. S e e t h e U n a 5 i n str u cti o n s f or r e stri cti o n s o n t a x m att er s p art n er s. I n m o st c a s e s,
          t h e st u d e nt pr a ctiti o n er' s {l e v el s k a n d I) a ut h orit y I s li mit e d {f or e x a m pl e, t h e y m a y o nl y pr a cti c e u n d er t h e s u p er vi si o n of a n ot h er pr a ctiti o n er).


          Li st a n y s p e cifi c a d diti o n s or d el eti o n s t o t h e a ct s ot h er wi s e a ut h ori z e d i n t hi s p o w er of att or n e y:             ..................................... .




 6        R e c ei pt of r ef u n d c h e c k s, If y o u w a nt t o a ut h ori z e a r e pr e s e nt ati v e n a m e d o n li n e 2 t o r e c ei v e, B U T N O T T O E N D O R S E O R C A S H, r ef u n d
          c h e c k s, I niti al h e r e - - - - - -               a n d li st t h e n a m e of t h at r e pr e s e nt ati v e b el o w.

          N a m e of r e pr e s e nt ati v e t o r e c ei v e r ef u n d c h e c k( s)
F or Pri v a c y A ct a n d P a p er w or k R e d u cti o n A ct N oti c e, s e e p a g e 4 of t h e i n str u cti o n s.                                  MGA                                       F or m     2848          ( R e v. 6- 2 0 0 8)




                                                                                                                                                                                                                                     E B- 0 0 0 3 5 6 7 2
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F or m 2 8 4 8 ( R e v. 6- 2 0 0 8)                                                                                                                                                                                  Page        2
  7         N oti c e s a n d c o m m u ni c ati o n s. Ori gi n al n oti c e s a n d ot h er writt e n c o m m u ni c ati o n s will b e s e nt t o y o u a n d a c o p y t o t h e fir st
            r e pr e s e nt ati v e li st e d o n li n e 2.
       a    If y o u al s o w a nt t h e s e c o n d r e pr e s e nt ati v e li st e d t o r e c ei v e a c o p y of n oti c e s a n d c o m m u ni c ati o n s, c h e c k t hi s b o x ,     •   .     •                    0
       b    If y o u d o n ot w a nt a n y n oti c e s or c o m m u ni c ati o n s s e nt t o y o ur r e pr e s e nt ati v e( s), c h e c k t hi s b o x        • • • • • •                   ,                              0
  8         R et e nti o n/r e v o c ati o n of pri or p o w er( s) of att or n e y. T h e fili n g of t hi s p o w er of att or n e y a ut o m ati c all y r e v o k e s all e arli er p o w er( s) of
            att or n e y o n fil e wit h t h e I nt er n al R e v e n u e S er vi c e f or t h e s a m e t a x m att er s a n d y e ar s or p eri o d s c o v er e d b y t hi s d o c u m e nt. If y o u d o n ot
            w a nt t o r e v o k e a pri or p o w er of att or n e y, c h e c k h er e.          • • • • • • • • , • • • • • • • • • • , • •                                                                                 0
            Y O U M U S T A T T A C H A C O P Y O F A N Y P O W E R O F A T T O R N E Y Y O U W A N T T O R E M AI N I N E F F E C T.




                       r~
  9         Si g n at ur e of t a x p a y er( s). If a t a x m att er c o n c er n s a j oi nt r et ur n, b ot h h u s b a n d a n d wif e m u st si g n if j oi nt r e pr e s e nt ati o n I s r e q u e st e d,
            ot h er wi s e, s e e t h e I n str u cti o n s. If si g n e d b y a c or p or at e offi c er, p art n er, g u ar di a n, t a x m att er s p art n er, e x e c ut or, r e c ei v er, a d mi ni str at or, or
            tr u st e e o n b e h alf of t h e t a x p a y er, I c ertif y t h at I h a v e t h e a ut h orit y t o e x e c ut e t hi s f or m o n b e h alf of t h e t a x p a y er.
                 I~           SI G N E D A N D D A T E D, T HI S P O W E R O F A T T O R N E Y \I L L B E R E T U R N E D.


_ _ _ V J ~ Qv1
            -7 ~ - _ _ _ _ _ _ . b.l, 1. 3.l. o. 4
                                              Si g n at ur e                                                                D at e
                                                                                                                                                         ..Cf. P ...............................
                                                                                                                                                                         Titl e (if a p pli c a bl e)



                           Pri nt N a m e                                         PI N N u m b er                      Pri nt n a m e of t a x p a y er fr o m li n e 1 if ot h er t h a n i n di vi d u al



                                              Si g n at ur e                                                                D at e                                       Titl e (If a p pli c a bl e)



                           Pri nt N a m e                                         PI N N u m b er

1:ffijjj 1             D e cl ar ati o n of R e pr e s e nt ati v e
C a uti o n: St u d e nt s wit h a s p e ci al or d er t o r e pr e s e nt t a x p a y er s i n q u alifi e d L o w I n c o m e T a x p a y er Cli ni c s or t h e St u d e nt T a x Cli ni c Pr o gr a m (l e v el s
k a n d I), s e e t h e I n str u cti o n s f or P art II.
U n d er p e n alti e s of p erj ur y, I d e cl ar e t h at:
• I a m n ot c urr e ntl y u n d er s u s p e n si o n or di s b ar m e nt fr o m pr a cti c e b ef or e t h e I nt er n al R e v e n u e S er vi c e;
• I a m a w ar e of r e g ul ati o n s c o nt ai n e d I n Cir c ul ar 2 3 0 ( 3 1 C F R, P art 1 0), a s a m e n d e d, c o n c er ni n g t h e pr a cti c e of att or n e y s, c ertifi e d p u bli c
a c c o u nt a nt s, e nr oll e d a g e nt s, e nr oll e d a ct u ari e s, a n d ot h er s;
• I a m a ut h ori z e d t o r e pr e s e nt t h e t a x p a y er( s) I d e ntifi e d I n P art I f or t h e t a x m att er( s) s p e cifi e d t h er e; a n d
• I a m o n e of t h e f oll o wi n g:
    a Att or n e y- a m e m b er I n g o o d st a n di n g of t h e b ar of t h e hi g h e st c o urt of t h e J uri s di cti o n s h o w n b ei o' w.
    b C ertifi e d P u bli c A c c o u nt a nt- d ul y q u alifi e d t o pr a cti c e a s a c ertifi e d p u bli c a c c o u nt a nt I n t h e J uri s di cti o n s h o w n b el o w.
    c E nr oll e d A g e nt- e nr oll e d a s a n a g e nt u n d er t h e r e q uir e m e nt s of Cir c ul ar 2 3 0.
   d       Offi c er- a b o n a fi d e offi c er of t h e t a x p a y er' s or g a ni z ati o n.
   e        F ull- Ti m e E m pl o y e e- a f ull-ti m e e m pl o y e e of t h e t a x p a y er.
   f        F a mil y M e m b er- a m e m b er of t h e t a x p a y er' s I m m e di at e f a mil y (f or e x a m pl e, s p o u s e, p ar e nt, c hil d, br ot h er, or si st er).
   g        E nr oll e d A ct u ar y- e nr oll e d a s a n a ct u ar y b y t h e J oi nt B o ar d f or t h e E nr oll m e nt of A ct u ari e s u n d er 2 9 U. S. C. 1 2 4 2 (t h e a ut h orit y t o
            pr a cti c e b ef or e t h e I nt er n al R e v e n u e S er vi c e I s li mit e d b y s e cti o n 1 0. 3( d) of Cir c ul ar 2 3 0).
   h        U n e nr oll e d R et ur n Pr e p ar er-t h e a ut h orit y t o pr a cti c e b ef or e t h e I nt er n al R e v e n u e S er vi c e I s li mit e d b y Cir c ul ar 2 3 0, s e cti o n
            1 0. 7( c)( 1)( vlll). Y o u m u st h a v e pr e p ar e d t h e r et ur n I n q u e sti o n a n d t h e r et ur n m u st b e u n d er e x a mi n ati o n b y t h e I R S. S e e U n e nr oll e d
            R et ur n P r e p a r e r o n p a g e 1 of t h e I n str u cti o n s.
   k       St u d e nt Att or n e y- st u d e nt w h o r e c ei v e s p er mi s si o n t o pr a cti c e b ef or e t h e I R S b y virt u e of t h eir st at u s a s a l a w st u d e nt u n d er s e cti o n
           1 0. 7( d) of Cir c ul ar 2 3 0.
           St u d e nt C P A- st u d e nt w h o r e c ei v e s p er mi s si o n t o pr a cti c e b ef or e t h e I R S b y virt u e of t h eir st at u s a s a C P A st u d e nt u n d er s e cti o n
           1 0. 7( d) of Cir c ul ar 2 3 0.
   r       E nr oll e d R etir e m e nt Pl a n A g e nt- e nr oll e d a s a r etir e m e nt pl a n a g e nt u n d er t h e r e q uir e m e nt s of Cir c ul ar 2 3 0 (t h e a ut h orit y t o pr a cti c e
           b ef or e t h e I nt er n al R e v e n u e S er vi c e I s li mit e d b y s e cti o n 1 0. 3( e)).
               I F T HI S D E C L A R A TI O N O F R E P R E S E N T A TI V E I S N O T SI G N E D A N D D A T E D, T H E P O W E R O F A T T O R N E Y WI L L
            B E R E T U R N E D. S e e t h e P art II i n str u cti o n s.
 D e si g n ati o n-I n s ert             J uri s di cti o n ( st at e) or                                             Si g n at ur e                                                             D at e
   a b o v e l ett er ( a-r)                     i d e ntifi c ati o n

                   g                              0 8- 0 3 1 6 1                                                                                                                            0 7/ 3 0/ 2 0 0 9




                                                                                                                                                                                    F or m    2848          ( R e v. 6- 2 0 0 8)




                                                                                                                                                                                                                   E B- 0 0 0 3 5 6 7 3
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                                          E B E R B R O S. WI N E & LI Q U O R C O R P.
                                                         1 5 5 p a r a g o n D ri v e
                                                 R o c h e st e r, N e w Y o r k 1 4 6 2 4

A u g u st 1 4, 2 0 0 9

C E R TI FI E D M AI L
R E T U R N R E C EI P T R E Q U E S T E D

E m pl o y e e Pl a n s
I nt er n al R e v e n u e S er vi c e
C o m mi s si o n er, T E/ G E
Att e nti o n: S E: T: E P: R A
P. O. B o x 2 7 0 6 3
M c P h er s o n St ati o n
W a s hi n gt o n, D C 2 0 0 3 8

T o w h o m it m a y c o n c er n:

E b er Br o s. Wi n e & Li q u or C or p. h er e b y r e q u e st s a r uli n g f or t h e w ai v er of mi ni m u m
f u n di n g st a n d ar d s f or t h e pl a n y e ar e n d e d M a y 3 1, 2 0 0 9 f or t h e E b er Br o s. Wi n e a n d
Li q u or C or p. E b er Br o s. Wi n e & Li q u or C or p. R etir e m e nt Pl a n.

I n a c c or d a n c e wit h t h e r e q uir e m e nt s of R e v e n u e Pr o c e d ur e 2 0 0 4- 1 5, e n cl o s e d ar e t h e
f oll o wi n g:

         •    W ai v er of Mi ni m u m F u n di n g D e cl ar ati o n.
         •    T h e d et ail e d i nf or m ati o n n e c e s s ar y t o pr o c e s s t hi s r e q u e st a s o utli n e d i n
              R e v. Pr o c. 2 0 0 4- 1 5 i n cl u di n g t h e s u b mi s si o n c h e c kli st.
         •    F or m 2 8 4 8 - P o w er of Att or n e y.
         •     A c o p y of t h e N oti c e of F u n di n g W ai v er pr o vi d e d t o i nt er e st e d p arti e s.
              T hi s n oti c e w a s h a n d d eli v er e d or m ail e d t o t h e l a st k n o w n a d dr e s s of
              e a c h e m pl o y e e or g a ni z ati o n, p arti ci p a nt, b e n efi ci ar y, a n d alt er n at e p a y e e
              ( wit hi n t h e m e a ni n g of S e c. 4 1 4( p)( 8) of t h e C o d e) wit hi n 1 4 d a y s pri or t o
              t h e d at e of t h e a p pli c ati o n.
         •     A D el eti o n s St at e m e nt r e q uir e d b y S e c. 6 1 1 0 of t h e C o d e.
         •     A c h e c k p a y a bl e t o t h e U nit e d St at e s Tr e a s ur y i n t h e a m o u nt of $ 9, 0 0 0 i n
              a c c or d a n c e wit h R e v e n u e Pr o c e d ur e 2 0 0 9- 8 f or w ai v er r e q u e st s l e s s t h a n
              $ 1, 0 0 0, 0 0 0.

W e al s o wi s h t o c o or di n at e/ di s c u s s a n U n p ai d Mi ni m u m R e q uir e d C o ntri b uti o n i n t h e
a m o u nt of $ 4 1 8, 5 0 5 fr o m t h e Pl a n Y e ar e n d e d M a y 3 1, 2 0 0 8 a s p art of t hi s fili n g.

Pl e a s e c o nt a ct u s if a n y a d diti o n al i nf or m ati o n i s n e e d e d t o pr o c e s s t hi s r e q u e st.

Si n c ~r e..l y,       .    C). .
             1\) jl, (l ~ n c ~
W e n d y E b er v r {

e n c.

                                                                                                                                   E B- 0 0 0 3 5 6 7 4
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                                 W AI V E R O F MI NI M U M F U N DI N G S T A N D A R D
                                               R E Q U E S T C H E C K LI S T

T h e S er vi c e will b e a bl e t o r e s p o n d m or e q ui c kl y t o y o ur w ai v er of mi ni m u m f u n di n g
st a n d ar d r e q u e st if it i s c ar ef ull y pr e p ar e d a n d c o m pl et e. T o e n s ur e y o ur r e q u e st i s i n
or d er, u s e t hi s c h e c kli st. A n s w er e a c h q u e sti o n i n t h e c h e c kli st b y i n s erti n g Y f or y e s, N f or
n o, or N/ A f or n ot a p pli c a bl e, a s a p pr o pri at e, i n t h e bl a n k n e xt t o t h e it e m. Si g n a n d d at e
t h e c h e c kli st ( a s t a x p a y er or a ut h ori z e d r e pr e s e nt ati v e) a n d pl a c e it o n t o p of y o ur r e q u e st.

Y o u m u st s u b mit a c o m pl et e d c o p y of t hi s c h e c kli st wit h y o ur r e q u e st. If a c o m pl et e d
c h e c kli st i s n ot s u b mitt e d wit h y o ur r e q u e st, s u b st a nti v e c o n si d er ati o n of y o ur s u b mi s si o n
will b e d ef err e d u ntil a c o m pl et e d c h e c kli st i s r e c ei v e d.

1.        y         If y o u w a nt t o d e si g n at e a n a ut h ori z e d r e pr e s e nt ati v e, h a v e y o u i n cl u d e d a
                    pr o p erl y e x e c ut e d F or m 2 8 4 8 ( P o w er of Att or n e y a n d D e cl ar ati o n of
                    R e pr e s e nt ati v e) ?

2.        y          H a v e y o u s ati sfi e d all t h e r e q uir e m e nt s of R e v.                Pr o c. 2 0 0 3- 4 or it s
                     s u c c e s s or s ( e s p e ci all y c o n c er ni n g si g n at ur e s a n d      p e n alti e s of p erj ur y
                     st at e m e nt) ? ( S e e s e cti o n 2. 0 2( 1) & ( 2))

3.        y          H a v e y o u i n cl u d e d st at e m e nt of pr o p o s e d d el eti o n s ? ( S e e § 2. 0 2( 3))

4.        y          H a v e y o u i n cl u d e d t h e u s er f e e r e q uir e d u n d er R e v.         Pr o c. 2 0 0 3- 8 or it s
                     s u c c e s s or s ? ( S e e s e cti o n 2. 0 1 & 2. 0 2( 3))

5.        y         H a v e y o u i n cl u d e d a c o p y of t h e writt e n n otifi c ati o n t h at a n a p pli c ati o n f or a
                    w ai v er h a s b e e n s u b mitt e d a n d a st at e m e nt t h at s u c h n oti c e w a s d eli v er e d t o
                    e a c h e m pl o y e e or g a ni z ati o n, p arti ci p a nt, b e n efi ci ar y a n d alt er n at e p a y e e ?
                    ( S e e s e cti o n 2. 0 2( 4) a n d A p p e n di x A)

6.        y         H a v e y o u i n cl u d e d t h e g e n er al f a ct s c o n c er ni n g t h e e m pl o y er ? ( S e e s e cti o n
                    2. 0 3( 1 ))

7.        y         H a v e y o u i n cl u d e d a d e s cri pti o n of t h e e m pl o y er' s fi n a n ci al c o n diti o n ? ( S e e
                    s e cti o n 2. 0 3( 2))

8.        y         If t h e pl a n i s n ot a m ulti e m pl o y er pl a n, h a v e y o u i n cl u d e d a d e s cri pti o n of t h e
                    e m pl o y er' s e x e c uti v e c o m p e n s ati o n arr a n g e m e nt s ? ( S e e s e cti o n 2. 0 3( 3))

9.        y         H a v e y o u i n cl u d e d a n e x pl a n ati o n of t h e n at ur e a n d e xt e nt of t h e b u si n e s s
                    h ar d s hi p, i n cl u di n g fi n a n ci al pr oj e cti o n s if t h e w ai v er r e q u e st e x c e e d s
                    $ 1, 0 0 0, 0 0 0 a n d t h e pl a n i s n ot a m ulti e m pl o y er pl a n ? ( S e e s e cti o n 2. 0 3( 4))

1 0.      Y         H a v e y o u i n cl u d e d i nf or m ati o n c o n c er ni n g t h e p e n si o n pl a n ? ( S e e s e cti o n
                    2. 0 3( 5))




                                                                                                                                     E B- 0 0 0 3 5 6 7 5
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                             W AI V E R O F MI NI M U M F U N DI N G S T A N D A R D

                                               R E Q U E S T C H E C K LI S T

                                                           ( P a g e 2)


1 1.      Y       H a v e y o u i n cl u d e d i nf or m ati o n c o n c er ni n g ot h er p e n si o n, pr ofit- s h ari n g, or
                  st o c k b o n u s pl a n s of t h e e m pl o y er ? ( S e e s e cti o n 2. 0 3( 6))

1 2.      Y       H a v e y o u i n cl u d e d i nf or m ati o n c o n c er ni n g ot h er m att er s       p ert ai ni n g t o t h e
                  pl a n ? ( S e e s e cti o n 2. 0 3( 7))

1 3.       N      H a v e y o u pr o vi d e d a di g e st of fi n a n ci al i nf or m ati o n ? ( S e e s e cti o n 2. 0 3( 8))

1 4.       N/ A   H a v e y o u pr o vi d e d 2 c o pi e s of t h e n e c e s s ar y w ai v er i nf or m ati o n d e s cri b e d i n
                  s e cti o n 2. 0 3 if t h e w ai v er r e q u e st e x c e e d s $ 1, 0 0 0, 0 0 0 ? ( S e e s e cti o n 2. 0 4)

1 5.       N/ A   If t h e w ai v er r e q u e st p ert ai n s t o a d efi n e d c o ntri b uti o n p e n si o n pl a n, h a v e
                  y o u pr o vi d e d a c o p y of t h e pl a n a m e n d m e nt or d et er mi n ati o n l ett er r e q u e st, if
                  a p pli c a bl e ? ( S e e s e cti o n 3. 0 1- 3. 0 4)

1 6.       Y      H a v e y o u s u b mitt e d t h e r e q u e st f or a w ai v er n o l at er t h a n t h e 1 5t h d a y of t h e
                  3r d m o nt h f oll o wi n g t h e cl o s e of t h e pl a n y e ar if t h e pl a n i s n ot a
                  m ulti e m pl o y er pl a n, or n o l at er t h a n t h e cl o s e of t h e pl a n y e ar f oll o wi n g t h e
                  pl a n y e ar f or w hi c h t h e w ai v er i s r e q u e st e d if t h e pl a n i s a m ulti e m pl o y er
                  pl a n ? ( S e e s e cti o n 4)




Si g n at ur e




                                                                                                                                  E B- 0 0 0 3 5 6 7 6
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                                E b e r B r o s. Wi n e & Li q u o r C o r p. - E I N: 1 6- 0 4 1 7 4 5 0
                                        R e q u e st f o r W ai v e r of Mi ni m u m F u n di n g
  It e m 1. - G e n e r al F a cts C o n c e r ni n g E b e r B r o s. Wi n e & Li q u o r C o r p.

 Si n c e its f or m ati o n i n 1 9 3 4 a n d c o nti n ui n g u ntil mi d 2 0 0 6, E b er Br ot h er s Wi n e a n d Li q u or C or p.
 ( " E B W L C " or t h e " C o m p a n y ") w a s a pr o s p er o u s wi n e a n d li q u or di stri b ut or i n N e w Y or k St at e.
 O v er t h e y e ars, t h e C o m p a n y e x p a n d e d its o p er ati o n s t hr o u g h t h e a c q ui siti o n of di stri b ut or s i n
N e w Y or k st at e a n d ot h er st at e s i n cl u di n g O hi o, D el a w ar e, C o n n e cti c ut a n d R h o d e Isl a n d. D u e
t o cir c u m st a n c e s b e y o n d its c o ntr ol, h o w e v er, E B W L C w a s f or c e d t o c e as e all b u si n e s s
 o p er ati o n s i n t h e St at e of N e w Y or k i n A pril, 2 0 0 7. S p e cifi c all y, i n 2 0 0 6, t h e l ar g e st di stri b ut or
 of wi n e a n d li q u or i n t h e U nit e d St at e s ( S o ut h er n Wi n e & S pirits) e nt er e d t h e N e w Y or k m ar k et.
 T h e i n cr e a s e d c o m p etiti o n b y s u c h a l ar g e e ntit y, wit h s u b st a nti all y m or e a v ail a bl e c a pit al t h a n
 E B W L C a n d r el ati o n s hi p s wit h l ar g e s u p pli er s of m ar q ui s br a n d s of wi n e a n d li q u or t hr o u g h o ut
t h e U nit e d St at es, c o m bi n e d wit h t h e m a s si v e c o n s oli d ati o n i n t h e wi n e a n d li q u or i n d u str y at
b ot h t h e di stri b ut or l e v el a n d t h e s u p pli er l e v el, c a u s e d E B W L C t o l o s e m a n y of its m ar q ui s
s u p pli er s. As a r e s ult, t h e s n o w b all st art e d a n d m or e a n d m or e s u p pli er s t er mi n at e d t h eir
r el ati o n s hi p wit h t h e C o m p a n y a n d E b er- N D C, L L C (t h e C o m p a n y' s s u b si di ar y r e s p o n si bl e f or
t h e di stri b uti o n of wi n e a n d li q u or i n t h e N e w Y or k Cit y m ar k et).                   T h e n et r e s ult f or t h e
C o m p a n y w as a c o m bi n e d $ 3 4. 5 milli o n l oss f or t h e fis c al y e ars e n d e d M a y 3 1, 2 0 0 6 a n d M a y
3 1, 2 0 0 7, a n d it f ail e d t o m e et it s fi n a n ci al c o v e n a nt s wit h its s e ni or l e n d er. T h e C o m p a n y w a s
f or c e d t o c e a s e o p er ati o n s i n t h e St at e of N e w Y or k a n d it s s e ni or l e n d er f or c e d a li q ui d ati o n s al e
of all of t h e i n v e nt or y of E B W L C i n J u n e, 2 0 0 7, w hi c h l eft m a n y of t h e C o m p a n y' s s u p pli er s
u n p ai d. T h e C o m p a n y, i n a n eff ort t o pr e s er v e its r el ati o n s hi p s wit h s u p pli er s i n ot h er
j uri s di cti o n s, h a d t o s ell a s u b st a nti al p orti o n of its a s s et s t o s ati sf y its o bli g ati o n s t o s u p pli ers.
( S e e It e m 4 b el o w).

A s a r e s ult of t h e f or e g oi n g, E B W L C w as f or c e d t o s ell all of its a s s et s e x c e pt its o w n er s hi p
i nt er e st i n E b er- C o n n e cti c ut, L L C, a w h ol e s al e wi n e a n d li q u or di stri b ut or o p er ati n g s ol el y i n t h e
St at e of C o n n e cti c ut ( " E b er- Ct "). F or m or e t h a n t w e nt y-fi v e y e ar s, E b er- Ct ( a n d its pr e d e c e s s or,
Sl o c u m & S o n s, I n c.), h a s di stri b ut e d s o m e of t h e w orl d' s m o st pr e sti gi o u s wi n e s fr o m
C alif or ni a, Fr a n c e, S p ai n, It al y, A u str ali a a n d S o ut h A m eri c a i n t h e St at e of C o n n e cti c ut.
E b er- Ct' s p ortf oli o i n cl u d e s s el e cti o n s fr o m Di a g e o, M o et H e n n e s s y, F o st er' s a n d H e s s, as w ell
as t h e n u m b er o n e s elli n g wi n e i n t h e w orl d, Y ell o w T ail fr o m A ustr ali a.

Att a c h e d h er et o as E x hi bit 1- 1 is a C or p or at e Str u ct ur e C h art w hi c h s et s f ort h t h e c urr e nt
o w n er s hi p str u ct ur e of E B W L C a n d t h e r e m ai ni n g o p er ati n g e ntiti e s affili at e d wit h E B W L C.
Att a c h e d h er et o as E x hi bit 1- 2 of t hi s s u b mi s si o n is a C or p or at e Str u ct ur e C h art of E B W L C a n d
its o p er ati n g e ntiti e s of t h e C o m p a n y as t h e y e xi st e d i n 2 0 0 7 (i. e., pri or t o t h e r e or g a ni z ati o n a n d
s al e s t h at w er e r e q uir e d i n or d er t o a c c o m m o d at e s u p pli ers). Att a c h e d h er et o as E x hi bit 1- 3 is a n
a n n ot at e d v er si o n of a C or p or at e Str u ct ur e C h art of E B W L C a n d it s affili at e d e ntiti es t o
hi g hli g ht all of t h e tr a n s a cti o n s t h at h a v e o c c urr e d si n c e t h e e c o n o mi c h ar d s hi p d e s cri b e d a b o v e.

T h e pl a n f or w hi c h a w ai v er is b ei n g r e q u e st e d b y t hi s s u b mi s si o n is t h e E b er Br o s. Wi n e &
Li q u or C or p. R etir e m e nt Pl a n (t h e " Pl a n "). T h e Pl a n w a s fr o z e n as of O ct o b er 3 1, 2 0 0 0.
A c c or di n gl y, t h e o nl y e ntit y t h at s h o ul d b e a g gr e g at e d wit h E B W L C f or p ur p o s e s of S e cti o ns
4 1 4( b), ( c), ( m) or ( o) of t h e I nt er n al R e v e n u e C o d e of 1 9 8 6, a s a m e n d e d, i s E b er Br os. Wi n e &
Li q u or M etr o, I n c. All ot h er affili at e d e ntiti e s h a v e eit h er c e a s e d o p er ati o n s or w er e f or m e d
s u b s e q u e nt t o D e c e m b er 3 1, 2 0 0 0. T h e Pl a n w a s o nl y m ai nt ai n e d b y E B W L C.

1 3 4 7 8 2 1 2 3 4 9 5 3. 1




                                                                                                                                                 E B- 0 0 0 3 5 6 7 7
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                                                                     E: x hi bitl,- 1




                                                                        E B- 0 0 0 3 5 6 7 8
